Case 8:18-cv-01524-BRM     Document 2       Filed 02/26/18     Page 1 of 1 PageID: 5




                         UNITED STATES DISTRICT COURT

                           DISTRICT OF NEW JERSEY


 In the Matter of


 JOSEPH D. LENTO                        :    Misc.   18—J524    (jMV)
 An Attorney-at-Law                          ORDER TO SHOW CAUSE


     It appearing by Order of the Supreme Court of New Jersey
                                                              that
 JOSEPH D. LENTO was suspended from the practice of law
                                                         for a period
 of one year, retroactive to July 17, 2013 and until the
                                                          further
 Order of that Court; and good cause appearing,


      It is on this 26th day     of     February,     2018,


     ORDERED that JOSEPH D.     LENTO,      show cause on MONDAY,
                                                         APRIL 2, 2018
why he should not be suspended from the practice of
                                                     law for a period
of one year, retroactive to July 17, 2013 before this
                                                       Court and until
the further Order of the Court. Should the respondent
                                                       desire to file
a written response, he must do so at least 10 days before
                                                          the return
date of the order to show cause.            No oral argument will be held unless
 so ordered by the Court.




                                              Hon. John MiceiWazquez

                                              U.S. District Judge
